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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )           8:09CR287
                                                     )
       vs.                                           )            ORDER
                                                     )
YER YANG,                                            )
                                                     )
                       Defendant.                    )


       This matter is before the court sua sponte.
       Paragraph 7(g) of the Order Setting Conditions of Release of Yer Yang (Filing No. 10)
is modified to read:
              Abide by the following restrictions on personal associations,
              place of abode, or travel: Not Leave the District of Minnesota.
       IT IS SO ORDERED.
       DATED this 5th day of October, 2009.
                                                     BY THE COURT:
                                                     s/Thomas D. Thalken
                                                     United States Magistrate Judge
